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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN


UNITED STATES OF AMERICA
                                                    Criminal No. 2:23-cr-20538
             v.
                                                    Hon. Gershwin A. Drain
DANIEL L. ISRAEL,

                                 Defendant.



             UNITED STATES’ SENTENCING MEMORANDUM FOR
                           DANIEL L. ISRAEL


      Defendant Daniel L. Israel (the “Defendant”), co-founder and former majority

owner of Asphalt Specialists LLC (“ASI”), cultivated and directly participated in

ASI’s bid-rigging relationships, both in the charged conspiracy and in uncharged

bid-rigging conspiracies, for at least half a decade. The Defendant’s participation in

these conspiracies enabled ASI to win more than $22.3 million in asphalt paving

services contracts, affecting dozens of projects and victims.        The Defendant

personally rigged numerous bids, often involving others in the scheme, corrupting

the competitive bidding process and undermining the basic, but essential, notions of

free and fair competition. In doing so, the Defendant violated the Sherman Act, 15

U.S.C. § 1, and for the reasons set forth in this sentencing memorandum and its

forthcoming Combined Motion and Brief for Downward Departure Under U.S.S.G.

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§ 5K1.1, the United States recommends that the Court impose a term of

imprisonment of 22 months, a $223,155 criminal fine payable in full before the 15th

day after the date of judgment, a $100 special assessment, and no order of restitution.

   I.      Offense Background

              During the charged bid-rigging conspiracy, the Defendant was

President and part-owner of ASI, an asphalt paving company based in Pontiac,

Michigan, which provided a range of asphalt paving services, such as large

driveways, parking lots, private roadways, and public streets. The Defendant shared

ownership and the day-to-day management of ASI with his brother, Bruce Israel.

Bruce Israel ran the sales side of the company, doing estimates, pitching customers,

and submitting bids.      The Defendant handled field operations, logistics, and

materials. Potential customers seeking asphalt paving services would solicit bids

from ASI and other companies, typically requiring bids from at least two or more

providers. The potential customer would award contracts for asphalt paving services

after first reviewing and evaluating bids submitted by the providers.

        From at least as early as March 2013 and continuing until at least as late as

November 2018, the Defendant and ASI conspired with Al’s Asphalt Paving

Company, Inc. (“Al’s Asphalt”) and other co-conspirators to rig bids for contracts




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to provide asphalt paving services in the State of Michigan. The Defendant pleaded

guilty to his participation in this conspiracy.1 Plea Agreement, Dkt. 12.

      In furtherance of the conspiracy, the Defendant and other officers and

employees of ASI engaged in conversations, meetings, and communications with

their Al’s Asphalt co-conspirators about which contracts each company wanted to

win and agreed to rig bids in each other’s favor. The co-conspirators shared price-

related information, including bid submissions, so that the agreed-upon losing co-

conspirator could craft a higher-priced non-competitive bid, which it then submitted

to the customer. As a result, the agreed-upon winning company would indeed get

the contract. ASI and Al’s Asphalt each provided and accepted payments for asphalt

paving services under contracts obtained through this collusive and non-competitive

process. The Defendant was a key point of contact for rigged bids with Al’s Asphalt.

Of Defendant’s stipulated volume of commerce of $22,315,512, see Plea

Agreement, ¶ 4(g), ASI was paid $10,406,230 for projects that it rigged with Al’s

Asphalt.

      The Defendant also engaged in additional, uncharged bid rigging agreements

with multiple other companies that provided asphalt paving services.             Of

Defendant’s stipulated volume of commerce, ASI was paid $11,909,282 for projects



1
 ASI pleaded guilty to two counts of violating Section 1 of the Sherman Act (15
U.S.C. § 1) and was sentenced on August 15, 2024, to a fine of $6,500,000.
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affected by bid-rigging conspiracies for which Defendant is not charged.2 The

projects associated with the uncharged conspiracies occurred during the charged

relevant period and years following the relevant period.

      The Defendant engaged in conversations and communications with

individuals at uncharged co-conspirator companies, soliciting non-competitive, false

bids from those companies to ensure ASI would win particular contracts. The

Defendant was the key point of contact for bid rigging for at least two uncharged co-

conspirator companies for several years. As such, when ASI wanted to secure a

particular paving job, the Defendant personally would contact the appropriate

individuals for the uncharged co-conspirator companies and ask them to submit non-

competitive bids.3




2
 The payments derived from the uncharged bid rigging agreements are nonetheless
attributable to the Defendant under U.S.S.G. § 1B1.3 as relevant conduct.
3
  See, e.g., Ex. 1 (“[individual at uncharged co-conspirator company] told me he did
what I asked… Let’s get our numbers to AL’s [Asphalt] [and two uncharged co-
conspirator companies]); Ex. 2 (“For clarity I have spoken to both [uncharged co-
conspirator companies] And all is good”); Ex. 3 (regarding Al’s Asphalt and two
uncharged co-conspirator companies, “I just commuincted [sic] with all that this is
a high want job for us.”); Ex. 4 (contacting executive of uncharged co-conspirator
company, “This is high want job for ASI… we will provide you with sub numbers”);
Ex. 5 (contacting executive of uncharged co-conspirator company, “This is the job
we spoke and ASI will want good pricing and is a high want job for us”); Ex. 6
(forwarding ASI bid proposal to executive of uncharged co-conspirator company,
“Please review and call me about this”).
                                             4
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      For some projects, the Defendant gave the uncharged co-conspirator specific

bid numbers and instructed them how to bid.4         In one particular project, the

Defendant specifically directed the activities of employees of uncharged co-

conspirator companies and one of his ASI employees, Timothy Baugher.5 The

Defendant personally knew the customer, so ASI drafted the scope of the project and

hand-picked the list of bidders. During the bidding process, the Defendant instructed

Baugher to draft a non-competitive bid for one of the uncharged co-conspirator

companies.6   Once Baugher prepared the non-competitive bid as directed, the

Defendant emailed it to an executive of the uncharged co-conspirator company, with

the intention that the company would submit the inflated bid to the customer.7 In

late 2018 or early 2019, the Defendant transitioned his role as the key contact for

these uncharged co-conspirator companies to Baugher.



4
   See, e.g., Ex. 7 (Defendant emailing executive of uncharged co-conspirator
company, attaching specific bid numbers); Ex. 8 (Defendant emailing employee of
uncharged co-conspirator company and attaching a bid form prepared for that
specific company to submit containing non-competitive pricing).
5
 Timothy Baugher pleaded guilty to one count of violating Section 1 of the
Sherman Act (15 U.S.C. § 1); he was sentenced to six months incarceration and a
$20,000 fine on April 16, 2025.
6
 See Ex. 9 (Defendant instructing Baugher, “Please send one over for [uncharged
co-conspirator company”).
7
  See Ex. 10 (Defendant emailing executive of uncharged co-conspirator company,
attaching a bid form prepared for that specific company to submit containing non-
competitive pricing, and instructing the individual, “make [sure] you get with
[another employee of uncharged co-conspirator company]”).
                                             5
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         The Defendant’s participation in the charged and uncharged conspiracies

affected victims, i.e., customers that paid ASI and its co-conspirators for asphalt

paving services projects that were awarded via rigged bids in furtherance of the

above-described conspiracies.         The United States has identified 46 such

organizational victims.

   II.      The Defendant’s Properly Calculated Guidelines Range is 24–30
            Months’ Imprisonment
         The United States objects to the offense level calculations set forth in the PSR

insofar as they do not include a three-level increase under U.S.S.G. § 3B1.1 for the

Defendant’s role in the offense as a manager or supervisor. See PSR ¶¶ 21, 23, 26,

27, 59, 61, 65, and Addendum. The United States’ calculation of the Defendant’s

offense level and Guidelines fine range is set forth in the following table:




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     Description                                      U.S.S.G. §        Points
     Base Offense Level                               2R1.1(a)          12
     Conduct Involved Non-competitive Bids            2R1.1(b)(1)       +1
     Volume of Commerce Attributable to the
     Defendant: $10M – $50M                 2R1.1(b)(2)(B) +4
     (stipulated to be $22,315,512)
     Aggravating Factors
     Role in the Offense                              3B1.1(b)          +3
     Downward Adjustments
     Acceptance of Responsibility                     3E1.1(a)          -2
     Acceptance of Responsibility                     3E1.1(b)          -1
     Total Offense Level                              17
     Guidelines Months of Imprisonment Range,
                                              24 – 30 months
     Criminal History Category I
     Guidelines Fine Range
                                                      $223,155 – $1,000,000
     1% - 5% of Volume of Commerce


         A. The Defendant Served as a Manager or Supervisor of the
            Conspiracies
      The three-level manager/supervisor enhancement is appropriate in this case

because Defendant was a manager or supervisor of criminal activity that involved

five or more participants8 or was otherwise extensive. U.S.S.G. § 3B1.1(b). In the

Sixth Circuit, courts consider the following factors in deciding whether to apply the


8
  A “participant” is defined as “a person who is criminally responsible for the
commission of the offense, but need not have been convicted.” U.S.S.G. § 3B1.1,
cmt. n. 1. The Plea Agreement in this case stipulates that the offense included five
or more participants. Plea Agreement ¶ 4(d).
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enhancement under § 3B1.1: “the exercise of decision-making authority, the nature

of participation in the commission of the offense, the recruitment of accomplices,

the claimed right to a larger share of the fruits of the crime, the degree of

participation in planning or organizing the offense, the nature and scope of the illegal

activity, and the degree of control and authority exercised over others.” § 3B1.1

cmt. n. 4; United States v. Ortiz-Flores, 768 F. App'x 490, 494 (6th Cir. 2019);

United States v. Anderson, 795 F.3d 613, 617 (6th Cir. 2015). A defendant does not

need to satisfy each factor for the enhancement to be appropriate. United States v.

Gates, 461 F.3d 703, 709 (6th Cir. 2006). Rather, a combination of some of these

factors can be sufficient for applying the enhancement. United States v. Lalonde,

509 F.3d 750, 766 (6th Cir. 2007). Further, “[t]he key issue is not direct control or

ultimate decision-making       authority, but     rather the defendant's       ‘relative

responsibility.’” United States v. Henley, 360 F.3d 509, 517 (6th Cir. 2004).

                 i. Authority, Control, Planning, and Participation in Offense
      The Defendant was directly involved in the charged bid-rigging conspiracy

through his relationships with certain co-conspirators and by directing other

participants. He and Bruce Israel introduced Baugher to ASI’s bid rigging and

recruited him into the scheme. In addition, the Defendant participated in bid rigging

conduct with uncharged co-conspirator companies, leveraging his personal

relationships with those companies. He personally planned and executed methodical

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contacts with co-conspirators, including Al’s Asphalt and uncharged co-conspirator

companies, asking them to submit non-competitive bids to try to ensure that ASI

would win the project.9 Some of those non-competitive bids were created by

Baugher at the Defendant’s direction, and were then submitted to the customer by

uncharged co-conspirator companies, again at the Defendant’s direction.10 Such

activities demonstrate that the Defendant played an active and managerial role over

multiple individuals within the charged and uncharged conspiracies.

         The Defendant’s conduct also meets the “participants” requirement under

§ 3B1.1. § 3B1.1(b) requires that “the criminal activity involved five or more

participants or was otherwise extensive,” and the Defendant stipulated that the

conspiracy with Al’s Asphalt involved at least five participants. See Plea Agreement

¶ 4(d). To qualify for an enhancement under § 3B1.1(b), “the defendant must have

been the… manager, or supervisor of one or more other participants,”—not all five

participants. § 3B1.1 cmt. n. 2 (emphasis added); Ortiz-Flores, 768 F. App'x at 495

(“A defendant can be a manager in a conspiracy involving five or more people if he

recruits and exercises control over just one person.”) (citing United States v.

Richards, 508 F. App’x 444, 450 (6th Cir. 2012). The Defendant’s management and

supervision of Baugher’s bid rigging conduct alone satisfies this requirement. While


9
    See, e.g., Exs. 1-9.
10
     See, e.g., Ex. 9, Ex. 10.
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there is no dispute that Baugher eventually could and did rig bids independently, the

Defendant and Bruce Israel first brought Baugher into the bid-rigging fold, showed

him the ropes, and directed certain aspects of his bid-rigging activity. Thus, the

Defendant was not a collaborative co-conspirator on equal footing with Baugher, but

rather, he was a manager or supervisor of Baugher’s participation in the illegal bid

rigging conduct. Moreover, the Defendant’s management and supervision of the bid

rigging conduct of employees at the uncharged co-conspirator companies bolsters

the appropriateness of the enhancement’s application.

                ii. Fruits of the Offense
      Until late 2020, the Defendant owned almost 50% of ASI. As co-owner, he

undoubtedly received through his usual compensation the benefits of the contracts

tainted by bid-rigging. Moreover, in December 2020, the Defendant and his brother,

Bruce Israel, sold around 60% of their equity ownership in ASI and related entities

to a private equity fund. At that time, the Enterprise Value for the sale was $125

million. At least some portion of that value likely encompassed revenue received

during the several years of charged and uncharged bid rigging conduct.              As

compared to Baugher and other ASI co-conspirators, Defendant (and Bruce Israel)

claimed a larger share of the profits by virtue of his majority ownership of ASI.




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   III.   Recommended Sentence

      The United States respectfully recommends that the Court impose a sentence

of 22 months imprisonment and a $223,155 criminal fine. For the reasons set forth

in the forthcoming United States’ Combined Motion and Brief for Downward

Departure under U.S.S.G. § 5K1.1, the recommended sentence reflects an

approximately ten percent downward departure from the bottom of the Guidelines

imprisonment range under a total offense level of 17. The United States respectfully

submits that the recommended sentence is sufficient but not greater than necessary

to meet the stated sentencing goals and factors set forth in 18 U.S.C. § 3553(a).

          A. The Recommended Sentence Satisfies 18 U.S.C. § 3553(a)

      In addition to considering the Guidelines, the Court must also consider the

other factors set forth in 18 U.S.C. § 3553(a) in determining and imposing a sentence

that is “sufficient but not greater than necessary” to meet the specified sentencing

goals. The most relevant factors include the need to reflect the seriousness of the

offense, to promote respect for the law, and to afford adequate deterrence, see 18

U.S.C. § 3553(a)(2)(A)-(B), the nature and circumstances of the offense and the

history and characteristics of the Defendant, id. § 3553(a)(1), and the need to avoid

unwarranted sentence disparities, id. § 3553(a)(6).        A term of 22 months




                                            11
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imprisonment and a $223,155 criminal fine is sufficient, but not greater than

necessary, to achieve those objectives.

                i. Imposing the recommended custodial sentence recognizes the
                   seriousness of the offense and promotes respect for the law
      The Defendant’s violations of the Sherman Act are serious because they

attacked the basic principle of competition integral to our economic system. Bid

rigging is “both an unreasonable restraint of trade and a per se violation of the

Sherman Act.” See United States v. Dynalectric Co., 861 F.2d 722 (6th Cir. 1988)

(“[A]greements whose nature and necessary effect are so plainly anticompetitive that

no elaborate study of the industry is needed to establish their illegality—they are

‘illegal per se.’); see also id. (quoting Northern Pacific Railway v. United States,

356 U.S. 1 (1958) (“However, there are certain agreements or practices which

because of their pernicious effect on competition and lack of any redeeming virtue

are conclusively presumed to be unreasonable and therefore illegal without elaborate

inquiry as to the precise harm they have caused or the business excuse for their

use.”). Further, as the Sentencing Commission (the “Commission”) recognizes,

“there is near universal agreement that restrictive agreements among competitors,

such as horizontal price-fixing (including bid-rigging) and horizontal market-

allocation, can cause serious economic harm.” U.S.S.G. § 2R1.1 cmt. background.

      These simple, but important, warnings of the dangers of antitrust violations

were echoed by this Court’s comments at the recent sentencing hearing in United
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States v. Timothy Baugher, 2:24-cr-20504 (E.D. Mich.), held on April 16, 2025. In

that proceeding, the Court noted that there is “real harm” in bid rigging “because it

interferes with fair competition,” Baugher Sentencing Tr., Dkt. 36, 25:25-26:1, and

that bid rigging “corrupt[s] the bidding process and [ ] affect[s] the fair and free

competition that should exist in society.” Id. 26:6-8.

      The Defendant’s bid-rigging conduct here is no different. The Defendant and

his co-conspirators tainted dozens of asphalt paving services contracts, robbing their

customers of the benefit of free competition, a basic principle that is integral to our

economic system. The Defendant and his ASI co-conspirators reaped the benefits

of the charged and uncharged conspiracies to the tune of over $22.3 million in rigged

contracts.

      The seriousness of the Defendant’s conduct cannot be understated. He was

an active and extensive participant in the charged and uncharged conspiracies. He

recruited other participants to the conspiracies. He personally sought, received, and

provided numerous non-competitive bids to his co-conspirators.               He also

participated in meetings with co-conspirator executives in which non-competitive

bidding was discussed. Further, his involvement in the conspiracies as President and

part-owner gave his co-conspirators the confidence to collude with ASI knowing

that the company was committed to the criminal conspiracies from the top down.




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      By participating in the charged bid-rigging conspiracies, the Defendant

committed a serious violation of law. That a customer representative may, on

occasion, have requested a non-competitive bid is irrelevant. Bid-rigging is illegal,

full-stop. Furthermore, any such customer representative requests did not comprise

the full universe of non-competitive bids that the Defendant sought or provided. To

believe otherwise would ignore the many customers, general contractors, and other

project intermediaries who were unaware of the conspiracies and expected the

Defendant and his competitors to submit legitimate, competitive bids to win their

business.

      Moreover, the Defendant chose to ignore the real-world impact of his conduct

as the harm it caused was self-evident even without the benefit of formal antitrust

training. The Defendant was a veteran of the asphalt paving business. He knew

right from wrong when it came to dealing truthfully with customers. And he

understood the basic notion that, in a free market, competitors must compete and

that his coordination with competitors on non-competitive bids corrupted that

principle.

      Finally, the recommended sentence promotes respect for the law. As this

Court noted recently, white-collar criminal defendants seem to “expect better, more

lenient treatment than blue-collar defendants.” Baugher Sentencing Tr. 27:7-9. This

expectation of leniency is at odds with this Court’s stated responsibility to create

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respect for the law and treat all types of defendants the same. See id. 27:2-5.

Accordingly, a non-custodial sentence here would “reinforce[] the idea that white-

collar defendants get more, better treatment and are . . . given a lot of different things

than the blue-collar people.”      See id. 27:10-14.      Imposing the recommended

custodial sentence would counter this harmful perception and demonstrate that

white-collar defendants are not entitled to special consideration, but, in fact, must

face judgment by the criminal justice system on the same playing field as all

defendants. Further, a custodial sentence would underscore the significant role that

the Sherman Act serves in our nation’s economy and the importance of abiding by

it. Competitive bidding processes, such as the kind that takes place in the asphalt

paving industry, rely on competitors to bid honestly and independently.              The

recommended custodial sentence reaffirms the importance of keeping this

competitive process collusion-free.

       Accordingly, the United States’ recommended custodial sentence properly

accounts for the seriousness of the Defendant’s conduct and promotes respect for the

law.

                ii. Imposing the recommended custodial sentence on the Defendant
                    provides general deterrence
       A custodial sentence of 22 months will provide adequate general deterrence.

The threat of imprisonment as a general deterrent is necessary, especially in a case

like this one, because bid-rigging is a particularly difficult crime to detect. Illegal
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conduct that enriches offenders while minimizing the risk of detection is especially

pernicious and requires strong sentences to deter it. See United States v. Zukerman,

897 F.3d 423, 429 (2d Cir. 2018) (“Considerations of (general) deterrence argue for

punishing more heavily those offenses that either are lucrative or are difficult to

detect and punish, since both attributes go to increase the expected benefits of a

crime and hence the punishment required to deter it” (internal citation omitted)).

Given the immense effort that it takes to discover and prosecute bid-riggers like the

Defendant, an insufficient penalty may embolden would-be offenders, undermining

general deterrence.

      Moreover, “[b]ecause economic and fraud-based crimes are more rational,

cool, and calculated than sudden crimes of passion or opportunity, these crimes are

prime candidates for general deterrence.” United States v. Peppel, 707 F.3d 627,

637 (6th Cir. 2013) (quoting United States v. Martin, 455 F.3d 1227, 1240 (11th Cir.

2006)).   Antitrust defendants frequently participate in antitrust conspiracies

calculated to boost profits, take shortcuts, and subvert free and open competition.

Thus, a non-custodial sentence may appear to the average antitrust defendant as

merely the cost of doing business and undermine the need for deterrence.

      This Court expressed similar concerns about a probationary sentence’s effect

on general deterrence when it imposed a sentence of incarceration in Baugher. See

generally Baugher Sentencing Tr. 27-28. The Court noted that a probationary

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sentence in that case may lead someone to think that he could rig bids worth millions

of dollars and expect probation, thinking that he could do it “standing on [his] head.”

Id. 28:5-8. Adding the prospect of imprisonment to a would-be antitrust defendant’s

cost-benefit analysis in deciding whether to collude with competitors serves as a

significant deterrent against doing so.

      A combination of a custodial sentence and criminal fine furthers deterrence.

Thus, the United States’ recommended sentence serves the need for general

deterrence and should be imposed.

               iii. The recommended custodial sentence appropriately reflects the
                    history and characteristics of the Defendant and the nature and
                    circumstances of the offense
      The Defendant’s net worth is                      . PSR ¶ 57. Given his assets,

a sentence of imprisonment will have a far greater impact on him than a monetary

fine alone.

      Also, based on the information submitted by the Defendant to Probation, the

Defendant appears to have grown up in a positive environment and has close familial

connections. PSR ¶ 36. As an adult, he had a very successful career in the asphalt

paving industry. Even with all the benefits afforded to him due to his upbringing

and career success, however, the Defendant chose to commit a serious felony. The

Defendant both received and provided non-competitive bids as part of a bid-rigging

conspiracy spanning multiple years. As a result, the Defendant’s company and co-

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conspirator companies were paid millions of dollars on tainted contracts. Given his

position, the Defendant could have terminated his and others’ involvement in the

conspiracies and ceased this criminal activity prior to the end of the relevant period,

but he did not. Instead, the Defendant repeatedly chose to violate the law and

directed others to do the same.

      Accordingly, the Defendant’s personal history and characteristics, as well as

the nature and circumstances of the offense, support the United States’

recommended custodial sentence.

               iv. Imposing the recommended sentence of imprisonment is
                   consistent with pertinent policy statements regarding antitrust
                   offenders
      Pertinent policy statements issued by the Commission support the United

States’ recommended sentence. The Court should consider these policy statements

as a factor under 18 U.S.C. § 3553(a)(5). As previously noted, the Commission

recognizes that restrictive agreements like bid-rigging can cause “serious economic

harm.” U.S.S.G. § 2R1.1 cmt. background. Accordingly, the Commission believes

that “[a]bsent adjustments, the guidelines require some period of confinement in the

great majority of [antitrust] cases that are prosecuted, including all bid-rigging

cases.” Id. Moreover, the Commission has “concluded that the definite prospect of

prison [for economic crime], even though the term may be short, will serve as a

significant deterrent, particularly when compared with pre-guidelines practice where

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probation, not prison, was the norm.” U.S.S.G. Ch. 1 Pt. A(4)(d). Similarly,

“[s]ubstantial fines are [considered by the Sentencing Commission to be] an

essential part of the sentence.”      U.S.S.G. § 2R1.1 cmt. background.          The

Commission’s statements on the imposition of imprisonment and substantial fines

for offenders like the Defendant clearly reflect its views that the seriousness of the

Defendant’s Sherman Act violations justify the United States’ recommended

sentence in this case.

                v. Imposing the recommended sentence of imprisonment is
                   consistent with the need to avoid unwarranted sentencing
                   disparities
      Under 18 U.S.C. § 3553(a)(6), the Court should consider “the need to avoid

unwarranted sentence disparities among defendants with similar records who have

been found guilty of similar conduct[.]” A custodial sentence is necessary to address

this factor, and the United States’ recommended custodial sentence does not create

unwarranted sentence disparities.

      This Court has sentenced one other individual from ASI. See United States

v. Timothy Baugher, 2:24-cr-20504 (E.D. Mich. Apr. 16, 2025) (sentence of six

months’ incarceration and $20,000 fine).         A significantly longer sentence of

incarceration is warranted for the Defendant for multiple reasons, including: (1) the

Defendant’s stipulated volume of commerce of over $22.3 million is greater than




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that of any individual sentenced to date in this investigation;11 (2) as described

above, the Defendant held a position of authority, recruiting and directing other

individuals in the bid rigging activity, including Baugher; and (3) as a majority

owner of ASI during the relevant period, the Defendant logically profited from the

illegal conduct more than any other individual sentenced to date, including the

significant profit the Defendant obtained from the eventual sale of ASI to a private

equity company.

      Conversely, imposing a non-custodial sentence or a less significant custodial

sentence would create an unwarranted sentencing disparity by treating the

Defendant, a more culpable individual with further-reaching bid rigging conduct,

more favorably than the less culpable individuals already sentenced.

      Accordingly, imposing the United States’ recommended custodial sentence

would avoid unwarranted sentencing disparities.




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   The stipulated volume of commerce in the Baugher case was $17.3 million. See
also United States v. Edward D. Swanson, 2:23-cr-20699-02 (E.D. Mich. Jun. 6,
2024) (VOC: $3.6 million; sentence of two years’ probation and $36,577.48 fine);
United States v. David A. Coppola, 2:24-cr-20404 (E.D. Mich. Jan. 31, 2025) (VOC:
$3.6 million; sentence of two years’ probation and $50,000 fine); United States v.
Andrew Foster, 2:23-cr-20381-02 (E.D. Mich. Mar. 18, 2025) (VOC: $3.1 million;
sentence of two years’ probation and $100,000 fine).
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                vi. Balancing the relevant factors, the recommended sentence is
                    sufficient but not greater than necessary to achieve sentencing
                    objectives
        The Defendant’s illegal conduct was extensive and corrupted the competitive

process for multiple years. Accordingly, his sentence must appropriately address

the sentencing objectives of § 3553(a).       The United States submits that its

recommended sentence of 22 months imprisonment, a $233,155 criminal fine, and a

$100 special assessment is sufficient but not greater than necessary to achieve those

objectives.

   IV.     Defendant does not merit a variance based on age or health

        Based on the information provided to Probation and as represented to the

United States by the Defendant’s counsel, the Defendant has no immediate health

concerns or medical needs that the Federal Bureau of Prisons (“BOP”) cannot

adequately meet. The BOP houses many inmates of similar age and general health

and has access to the appropriate resources for both routine and specialist care that

the Defendant may need if he is sentenced to a term of incarceration. Thus, the

Defendant’s age or health does not support a variance or other mitigation.

   V.      Restitution is Discretionary

        The Mandatory Victim Restitution Act does not mandate restitution for Title

15 offenses, including the Sherman Act, but only for crimes of violence and certain


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offenses under Titles 18 and 21. 18 U.S.C. § 3663A(c)(1)(A). Under the Crime

Victims’ Rights Act, 18 U.S.C. § 3771, the United States has notified the

Defendant’s victims of these proceedings. The parties have agreed to recommend

the Defendant’s sentence not include a restitution order. Plea Agreement, ¶ 12.

   VI.    Conclusion

      For the foregoing reasons, the United States respectfully requests that the

Court: 1) impose a sentence that includes a term of imprisonment of 22 months; 2)

order the Defendant to pay a $223,155 criminal fine payable in full within 15 days

of the judgment; 3) order the Defendant to pay a $100 special assessment; and 4) not

order restitution.

                                             Respectfully submitted,

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                               CERTIFICATE OF SERVICE

      I hereby certify that on May 13, 2025, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to all counsel of record.



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      Dated: May 13, 2025




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